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                   UNITED STATES DISTRICT COURT
                  SOUTHERN DISTRICT OF NEW YORK

                                     :
                                     :
                                     :   Case No. 14-cv-9662 (JSR)
IN RE PETROBRAS SECURITIES           :
LITIGATION                           :   CLASS ACTION
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  CLASS PLAINTIFFS’ MEMORANDUM OF LAW IN OPPOSITION TO CCAF’S
                   MOTION FOR ATTORNEYS’ FEES
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       Class Plaintiffs respectfully submit this Memorandum of Law in Opposition to the Motion

for Attorneys’ Fees filed by the Competitive Enterprise Institute Center for Class Action Fairness

(“CCAF”) (Dkt. Nos. 840, 841). In light of the extensive record before this Court relating to Class

Counsel’s fee petition, the Court-ordered analysis performed by Cleary Gottlieb Steen & Hamilton

LLP (“Cleary Gottlieb”), counsel for the Petrobras Defendants, and the Objections to the

Settlement and fee petition, Class Plaintiffs will err on the side of brevity.

       On February 1, 2018, Class Plaintiffs filed a Motion for Preliminary Approval of

Settlement, attaching as an exhibit thereto a Proposed Notice of Pendency and Plan of Allocation,

which advised Settlement Class members that Class Counsel intended to seek attorneys’ fees of

$284.5 million and no more than $18 million in reimbursable expenses. (Dkt. Nos. 765, 766.) At

the February 23, 2018, Preliminary Approval Hearing, this Court expressed immediate skepticism

regarding Class Counsel’s anticipated fee request, remarking with some irony that the request

seemed “modest” and “a person’s got to live after all.” (Dkt. 773 at 6:1-4.) At that hearing, the

Court invoked the attorney-fee decisions in the WorldCom and Bank of America class actions,

where attorneys’ fees ranged between 5.5% to 6.28% of the recovery, remarking “why in the

world, in a giant case like this, should I consider a 9 1/2 percent legal fee?” Id. at 11:14-20.

       When advised that Class Counsel had expended $160 million in lodestar, the Court

similarly expressed skepticism, ordering that Class Counsel submit detailed time records to

Petrobras’ counsel for a thorough review. Id. at 33:22-36:14. On May 7, 2018, Cleary Gottlieb

submitted a detailed eleven-page analysis (“Cleary Letter”) to the Court raising a host of issues

regarding the lodestar report: 1) $125 million in fees was incurred by 170 “staff attorneys” and

“project attorneys” at high billable rates; 2) over $13 million in lodestar was billed for attorneys

translating documents; and 3) raising a number of purported issues with particular billing entries.
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(Dkt. No. 793.) On May 10, 2018, CCAF filed its Objection to the requested attorneys’ fees as

well as to the Settlement. (Dkt. No. 797.) The Objection to attorneys’ fees largely parroted the

concerns raised in the Cleary Letter and objections it has made as a professional objector in

connection with other settlements. See, e.g., Mem. Op. at 10, Fraley v. Facebook, Inc., No. 13-

16819 (9th Cir. Jan. 6, 2016), Dkt. 143; Objection of Melissa Holyoak and John Tabin at 6-9, 15-

22, In re Polyurethane Foam Antitrust Litig., No. 10-md-2196 (N.D. Ohio Nov. 12, 2015), Dkt.

1960. With respect to the Settlement, as with other objectors and parroting similar objections it

has made in other class action settlements, CCAF primarily argued that intra-class conflicts

foreclosed certification of the Settlement Class under Amchem Products, Inc. v. Windsor, 521 U.S.

591, 620 (1997). (Dkt. No. 797 at 3-11.) CCAF claimed that an intra-class conflict existed between

class members who purchased Petrobras securities in domestic transactions, as defined by

Morrison v. National Australia Bank Ltd., 561 U.S. 247 (2010), and those who purchased the

securities in foreign transactions. Id. CCAF also objected to certification of the Settlement Class

on predominance grounds.        Id. at 9-11.    Other Class members filed objections similarly

complaining about the fee request, as well as intra-class conflicts relating to the Class definition,

so CCAF’s objections are hardly novel. (See, e.g., Dkt. Nos. 803, 813; see also Dkt. No. 834 at

28.)

       On June 25, 2018, this Court issued an Opinion and Order granting final approval of the

Settlement, and granting in part and denying in part Class Counsel’s fee petition. (Dkt. No. 834.)

The Court found that CCAF’s and the other Objectors’ arguments to the Settlement were meritless.

With respect to the fee petition, the Court hewed to its original comments at the Preliminary

Approval hearing, granting Class Counsel a fee of 6.21%, slightly below the Bank of America fee

award. Wasting no time, on June 26, 2018, CCAF issued a press release proclaiming CEI




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Objection Wins Nearly $100 million for Class Members in Petrobras Settlement.1 CCAF’s

assertion that it is responsible for yielding a $100 million benefit for Petrobras Class Members

(while trying to scuttle the entire settlement), when the Court had months before indicated that

Class Counsel’s fee request was likely to be reduced by $100 million, is tantamount to the rooster

crowing victory at the crack of dawn: It has made a lot of noise, but imparted little value.

I.     LEGAL STANDARD

       “In the absence of a showing that objectors substantially enhanced the benefits to the class

under the settlement . . . they are not entitled to fees.” In re Currency Conversion Fee Antitrust

Litig., 263 F.R.D. 110, 132 (S.D.N.Y. 2009); see also In re Prudential Sec. Inc. Ltd. P‘ships. Litig.,

911 F. Supp. 135, 141 (S.D.N.Y. 1996) (“Neither the case law nor equity requires compensation

where the benefit contributed is incidental, or of a minimal or de minimis value to the class.”)

(citing Chem. Bank v. Jaffe & Schlesinger, P.A., 19 F.3d 1306, 1309 (9th Cir. 1994)). It is the

exception, not the rule. An award of attorneys’ fees to objectors is appropriate only when “(1) the

class of beneficiaries is sufficiently identifiable, (2) the benefits can be accurately traced, and (3)

the fee can be shifted with some exactitude to those benefitting.” In re Petition of Hill, 775 F.2d

1037, 1041 (9th Cir. 1985); see also 4 A. Conte & H. Newberg, Newberg on Class Actions § 13:76

at 490 (4th ed. 2002). Objectors bear the burden of proving “that it was their efforts that resulted

in conferring this benefit on the class.” Id. § 14:6 at 546-50; see also In re Classmates.com Consol.

Litig., No. C09-45RAJ, 2012 U.S. Dist. LEXIS 83480, at *26 (W.D. Wash. June 15, 2012) (noting

that discretionary nature of awarding fees to objectors “provided that the objectors prove that they

‘substantially enhanced the benefits under the settlement’” (quoting Vizcaino v. Microsoft Corp.,

290 F.3d 1043, 1052 (9th Cir. 2002)).


1
 See https://cei.org/content/cei-objection-wins-nearly-100-million-class-members-petrobras-
settlement.


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II.    CCAF’s MOTION SHOULD BE DENIED

       A.      CCAF Failed to Confer Any Benefit to the Class

       As the relevant case law makes unmistakably clear, an objector must prove that it procured

a benefit for the Class in order to earn a fee. Instead, CCAF points to dubious speculation. First,

nearly half of CCAF’s Objection was focused on a futile attempt to harm Class members by

scuttling the Settlement. CCAF failed to segregate the portion of its lodestar attributable to

objecting to the Settlement from its opposition to Class Counsel’s fee request. CCAF cannot be

paid on unsuccessful arguments that did not benefit the Class. See Wininger v. SI Mgmt. L.P., 301

F.3d 1115, 1119, 1125-26 (9th Cir. 2002) (affirming district court’s refusal to award objectors’

counsel fees for unsuccessful arguments and remanding for greater detail regarding the number of

hours spent by objector’s counsel because “[i]f anything, the district court should have reduced

the number of hours further” as “the burden to submit detailed records justifying hours reasonably

expended falls upon the claiming attorneys” and “[t]he district court should have required greater

specificity or reduced the hours further by those the firm had not proved to have been reasonably

expended.”) (alterations in original); see similarly In re Veritas Software Corp. Sec. Litig., No. C-

03-0283 MMC, 2006 U.S. Dist. LEXIS 10116, at *16-*17 (N.D. Cal. Feb. 24, 2006), aff’d, 496

F.3d 962 (9th Cir. 2007).

       Moreover, a perfunctory review of the record makes clear that the partial denial of Class

Counsel’s fee request was not the result of CCAF’s handiwork. Indeed, as explained above, well

before CCAF objected in this matter, this Court indicated that it believed a fee ranging between

5.5% - 6.28% was appropriate. Here, it went slightly below the upper range of those amounts,

providing Class Counsel with a 6.21% award. The Court’s formative view of the fee appears to

have been confirmed by the Cleary Letter, which provided a detailed analysis of the issues relating

to Class Counsel’s lodestar, such as the rates and use of document review attorneys for certain


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projects. CCAF happily adopted these arguments in its brief, arguing that Class Counsel’s lodestar

was inflated due to the use of staff attorneys at “exorbitant” rates. (Dkt. 797 at 14-17.) Simply

put, the record provides no evidence that CCAF had any impact on the fee awarded to Class

Counsel in this case, particularly where the Court commissioned Cleary Gottlieb to perform its

own analysis. Indeed, the Court readily acknowledged sua sponte that it had spent a significant

amount of time on its own reviewing counsel’s billing records, and that its fee award was guided

in significant part by its own experience in adjudicating class action settlements (Dkt. No. 834 at

32-33), as courts routinely entertain such analysis. See City of Providence v. Aeropostale, Inc.,

No. 11-cv-7132 (CM) (GWG), 2014 U.S. Dist. LEXIS 79478, at *2 (S.D.N.Y. June 10, 2014)

(“The court is accustomed to receiving objections to the size of attorneys’ fees in class actions.

Objector and others should know that this is one area in which the court always gives the record

very thorough review.”); In re Excess Value Ins. Coverage Litig., 598 F. Supp. 2d 380, 393

(S.D.N.Y. 2005) (“Fundamentally, the Court needed little or no assistance from the Objectors in

determining that Class Counsel’s fee application should be . . . tailored to the actual benefit

received by the Class.”); Order Denying Attorneys Fees and Reimbursement for Objectors at 2,

Sabbagh v. Cell Therapeutics Inc., No. C10-414 MJP (W.D. Wash. Oct. 30, 2012), Dkt. 139 (“The

Court does not agree that [the objector] attorneys’ arguments impacted the reduction of counsel

fees. The Court was well aware of the case law cited and arguments made and results achieved.”);

In re HP Inkjet Printer Litig., No. 05-cv-3580 JF, 2011 U.S. Dist. LEXIS 65199, at *5-*6 (N.D.

Cal. June 20, 2011) (denying fees because “[t]he Court reduced the fee award to class counsel not

because of any argument advanced by the objectors but because it concluded that the amount of

attorneys’ fees sought by class counsel was disproportionate to the benefit … to the class.”).

       Courts have refused to give CCAF credit when, as here, none is deserved. See, e.g., Mem.




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Op. at 10, Fraley, supra, (finding that “[t]he record does not support [CCAF’s] contention that

[it] contributed to the district court’s decision to award class counsel attorney’s fees in an amount

lower than requested” and observing that “[t]he district court was concerned with the excessiveness

of the requested attorney’s fees long before [CCAF Attorney] Kazman became involved.”); In re

Polyurethane Foam Antitrust Litig., 169 F. Supp. 3d 719, 720-21, 723 (N.D. Ohio 2016) (“Just as

CCAF's primary objection (that the thirty-percent request should be reduced to less than sixteen

percent) did not meaningfully influence this Court's final decision on what the percentage should

be, neither did CCAF's related secondary objection (that the lodestar was inflated by excessive

contract attorney hourly rates) influence this Court's cross-check”); In re HP Inkjet, , 2011 U.S.

Dist. LEXIS 65199, at *6-*7 (“The Court reduced the fee award to class counsel not because of

any argument advanced by the objectors but because it concluded that the amount of attorneys’

fees sought by class counsel was disproportionate to the benefit of the settlement to the class. . . .

For the reasons articulated above, the applications will be denied.”). Indeed, in In re Polyurethane

Foam, the district court called out CCAF for its “particularly ironic” request to be awarded “a

breathtaking average hourly rate of $2,755 . . . given the amount of ink CCAF spilled attacking

the hourly rates of Class Counsel in its Objection, where it suggested a reasonably hourly rate ‘for

an attorney in Ohio with more than 36 years of experience is $261/hour.’” 169 F. Supp. 3d at 720.

The court also called out CCAF for “offer[ing] to ‘waive[] any fee award over $90,000’––which

would still yield an average hourly rate of $569––for the purported reason of ‘avoid[ing] any

appearance of an unseemly windfall’” when “the real reason behind this seemingly magnanimous

offer is that tax law limits the amount CCAF can earn from court-awarded fees ‘to no more than

50% of [its] year-to-year expenses.’” Id.




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       B.      CCAF Has Engaged in the Same “Brazen Overbilling” of Which It Accused
               Class Counsel

       It is well-settled that, as the “party seeking fees,” CCAF bears “the burden of establishing

entitlement to an award.” Savoie v. Merchants Bank, 166 F.3d 456, 463 (2d Cir. 1999) (internal

citation and quotations omitted). As the Supreme Court has stated, “[w]here the documentation of

hours is inadequate, the district court may reduce the award accordingly.” Hensley v. Eckerhart,

461 U.S. 424, 433 (1983). At the outset of its Objection, CCAF solemnly professed to be

representing Haynes on a pro-bono basis. This representation appears to be CCAF’s “modus

operandi” and has been routinely invoked by CCAF in assailing class settlements. Based on that

representation, CCAF has been able to reap millions of dollars in contributions from some of the

largest corporations in the world, i.e., Exxon-Mobil Corporation, The American Conservative,

Pepsico, MasterCard, and the American Bankers Association, corporations whose interests are

hardly advancing those of class members (Dkt. 824 at 7). Yet, sensing a profiteering opportunity,

CCAF has shed its pro bono mask and is now seeking nearly $200,000 in fees for a few months

of work, which consisted of drafting a brief parroting arguments that have been previously made,

a five page sur-reply, and letters to either Class Counsel or the Court, as well as producing no more

than a few pages of discovery. CCAF has been singled out by Courts for filing “boilerplate

objections from its own briefing in other cases.” In re Polyurethane, 169 F. Supp. 3d at 721; see

also In re Target Corp. Customer Data Sec. Breach Litig., MDL No. 14-2522 (PAM), 2017 U.S.

Dist. LEXIS 75455, at *13 (D. Minn. May 17, 2017); Mem. Op. at 10, Fraley, supra. For these

services, CCAF claims that it has billed a staggering 231.7 hours: 124.6 hours have been billed by

Ms. St. John, 27.6 hours have been billed by Mr. Ted Frank, who never participated in a conference

call or appeared at any hearing in this Action. Similarly, two other attorneys at CCAF, Mrs.

Melissa Holyoak and Mr. Adam Schulman, billed nearly 80 hours on this case collectively, neither



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participating in one conference call, hearing or signing any letters. It is difficult to fathom why

four attorneys were required to draft a brief and an additional five page sur-reply, as well as a

handful of letters, particularly where the majority of CCAF’s arguments have been made by the

outlet in other cases and in the Cleary Letter. To the extent these attorneys were performing more

ministerial and other non-legal tasks (see, e.g., reference to Ms. Holyoak’s time billed to

“assistance with . . . client relations,” Dkt. No. 841 at 5), such tasks should have been relegated to

paralegals or clerks and, in any event, should not come from Class Counsel or from the Settlement

Fund.

        In making its application for attorneys’ fees, Class Counsel was required to provide

detailed time records regarding the work that was done, which were subject to a rigorous

adversarial process by Cleary Gottlieb. Sensing the dubiousness of staffing four senior attorneys

to work 231.7 hours on an unsuccessful objection that is hardly novel, CCAF has declined to

subject its own fee application to the same rigor, claiming instead that it is seeking a percentage

of recovery, hence no such scrutiny is required (Dkt. 841 ¶ 22). Yet, Class Counsel’s fee request

was similarly based upon a percentage of recovery—indeed an ex ante agreement between Court-

appointed Lead Plaintiff and Pomerantz LLP, and CCAF premised the entirety of its objection on

purportedly “brazen overbilling” by Class Counsel. Trying to sidestep the same scrutiny, CCAF

dubiously maintains that it is merely seeking a percentage of the recovery of 0.21%––a number

that is completely untethered to any precedent or case law but rather reflects a 1.7 multiplier on a

lodestar of more than $117,000. (Dkt. 840 at 6, 8-9.) CCAF has not provided any rationale for

why it should get any multiplier at all. It already receives millions of dollars a year in contributions

from corporate benefactors that encourage its efforts to object to nearly ninety class action

settlements. Moreover, unlike Class Counsel that has borne more than $14 million in expenses




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and vigorously litigated this case without a dime in compensation for more than three and a half

years (earning it a multiplier of 1.78), CCAF’s involvement in this case spans no more than a few

months. A multiplier of 1.70 for such “delay” and “risk” is utterly absurd. Indeed, courts routinely

reject such unreasonable requests. See, e.g., In re AOL Time Warner ERISA Litig., No. 02-cv-

8853 (SWK), 2007 U.S. Dist. LEXIS 99769, at *11 n.4 (finding the objector had “failed to

demonstrate,” inter alia, “that a multiplier is warranted”); see similarly In re Bolar Pharm. Co.

Sec. Litig., 966 F.2d 731, 732 (2d Cir. 1992) (remanding case when district court “made no findings

and gave no rationale at all as to why a . . . multiplier was used”).

       Still more concerning, CCAF has made no attempt to segregate its fee request and lodestar

from those portions of its Objection that were clearly unsuccessful. Here, nearly half of CCAF’s

brief focused on adequacy and predominance issues, all of which have been easily dispatched by

the Court. As explained above, any time spent on that portion of the appeal should be stricken

from CCAF’s already inflated lodestar. Moreover, CCAF’s Objections regarding rates for staff

attorneys/project associates and billing entries largely mimicked the extensive analysis of Cleary

Gottlieb. The only plausible original thought in CCAF’s Objection to Class Counsel’s fees is the

billing for non-U.S. licensed Brazilian attorneys. Thus, to the extent the Court believes that CCAF

had any impact on the Court’s fee award to Class Counsel, any fee award to CCAF should be

limited to the work it performed on that issue alone. Without the benefit of detailed time records

conveniently omitted by CCAF, a rough estimate of the value of that work can be gauged by

reviewing the portion of its Objection dedicated to that issue. Out of a 25-page brief, 1.5 pages

were dedicated to the Brazilian document review attorney analysis, or 6%. Thus, to the extent the

Court deems fit to award CCAF any fee (it should not), such a fee should be limited to 6% of its

$117,315.50 inflated lodestar, i.e., $7,038.90. No multiplier should be granted to CCAF in light




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of the short duration of its objection and the likelihood after the Preliminary Approval Hearing

that at least some portion of Class Counsel’s fee would be reduced, thereby winning CCAF an

easy “victory” for which it claims an outsized benefit.

III.   ANY FEES AWARDED SHOULD BE PAID BY THE SETTLEMENT FUND,
       NOT CLASS COUNSEL

       CCAF next asserts that, for equitable reasons, in contrast to the common fund rule it

invokes as the basis for its fee request, its fees should not be paid by the Settlement Fund, but

rather from Class Counsel’s pocket. First, equitable considerations militate against any fee for

CCAF. Here, the Court has acknowledged that CCAF is funded by corporations that “basically

think class actions are a big mistake,” and therefore seek to object to as many Class actions as

possible—thus far at least 88. (June 4, 2018, Hearing Tr. at 55:10-17). Such funding by deep-

pocketed corporate sponsors counsels against paying any award, either from Class Counsel or the

Settlement Class. CCAF purported to be working on a pro bono basis in order to secure such

funding. The meaning of pro bono is unambiguous: without pay.2 CCAF’s representation should

remain as it says: pro bono.

       Moreover, equities certainly don’t bear out Class Counsel paying for CCAF’s fee award.

First, Class Counsel’s fees in this matter have already been reduced by 35%, compared to its ex

ante agreement negotiated at length with Lead Plaintiff. Indeed, when originally offering to pay

for the fees of additional firms such as Bernstein Litowitz Berger & Grossman, Kahn Swick and

Foti, Wolf Popper and Almeida Law Firm, Class Counsel was under the misimpression that it

would be awarded a fee percentage at least approaching its ex ante agreement with Lead Plaintiff,

consistent with a significant amount of case law in this and other circuits, and with the view of



2
  See Black's Law Dictionary (10th ed. 2014) (defining "pro bono" as "Uncompensated, esp.
regarding free legal services performed for the indigent or for a public cause").


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legal scholars. Had it known that such fee would be reduced by more than one third, Class Counsel

would have argued that the Class should bear the costs of these additional law firms.

       Moreover, Class Counsel will spend significant time overseeing the administration of the

Net Settlement Fund until all funds are distributed. Further, in light of the appeal to the fee award

filed by the Bishop Objectors (Dkt. No. 842), Class Counsel will be required to expend additional

significant time and resources. Unlike CCAF’s magnanimous representations, Class Counsel

actually intends to perform these significant services pro bono and will not move for additional

fees (Class Counsel does intend to request reimbursement of out-of-pocket costs for such tasks).

It would be inequitable to saddle Class Counsel with additional costs relating to CCAF’s fees.

Accordingly, any fee award granted to CCAF should not be borne by Class Counsel.

                                         CONCLUSION

       For the foregoing reasons, Class Counsel respectfully request that CCAF’s motion for

attorneys’ fees be denied.


 Dated: July 18, 2018                              Respectfully submitted,

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